                                    UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TENNESSEE
                                          AT CHATTANOOGA

 UNITED STATES OF AMERICA                                         )
                                                                  )        Case No. 1:10-cr-158
 v.                                                               )
                                                                  )        COLLIER / LEE
 MICHAEL TODD SIMS                                                )
                                                                  )

                                    REPORT AND RECOMMENDATION

          Upon Defendant’s motion, the Court ordered a mental evaluation of Defendant [Doc. 90].

 After completion of the mental evaluation, a forensic report regarding the evaluation was received

 by the Court. The findings, which are set forth in more detail in the sealed forensic report, are that

 Defendant is not currently suffering from a mental disease or defect rendering him mentally

 incompetent to the extent he is unable to understand the nature and consequences of the proceedings

 filed against him or to properly assist in his defense, and that he is competent to stand trial. The

 findings regarding sanity are that Defendant was sane at the time of the alleged offense, and he did

 not suffer from a mental illness that interfered with his ability to appreciate the nature and quality

 or wrongfulness of his actions. Defendant has filed a waiver of any competency hearing [Doc. 167].

 Given the waiver and the findings contained in the forensic report, I RECOMMEND that Defendant

 be found competent to understand the nature and consequences of the proceedings against him, able

 to assist in his defense, and competent to stand trial.1

          SO ORDERED:

          ENTER.
                                                        s/fâátÇ ^A _xx
                                                        SUSAN K. LEE
                                                        UNITED STATES MAGISTRATE JUDGE



          1
             A party may serve and file objections to this report and recommendation within fourteen (14) days after being
 served with a copy of this report and recommendation. Failure to object in accordance with Fed. R. Crim. P. 59 waives
 a party’s right to review.
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